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                                      Exhibit A

                                   Proposed Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                      )
    In re:                                                            )    Chapter 11
                                                                      )
    YELLOW CORPORATION, et al.,1                                      )    Case No. 23-11069 (CTG)
                                                                      )
                              Debtors.                                )    (Jointly Administered)
                                                                      )
                                                                      )    Re: Docket No. __

                            ORDER (I) AUTHORIZING
                    (A) REJECTION OF CERTAIN EXECUTORY
              CONTRACTS AND UNEXPIRED LEASES EFFECTIVE AS OF
           DATES SPECIFIED HEREIN AND (B) ABANDONMENT OF CERTAIN
         PERSONAL PROPERTY, IF ANY, AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”) (a) authorizing the Debtors to

(i) reject the Contracts set forth on the Rejected Contracts List3 attached hereto as Annex 1

effective as the Contract Rejection Date, (ii) reject the Leases set forth on the Rejected Leases List4

attached hereto as Annex 2 effective as of the Lease Rejection Date, and (iii) abandon Personal

Property that may be located at the Premises, and (b) granting related relief, all as more fully set

forth in the Motion; and upon the First Day Declaration; and the district court having jurisdiction



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2
      Capitalized terms used but not otherwise defined herein shall have the meanings given to them in the Motion.

3
      The Debtors reserve the right to remove any Contract or to amend any Rejection Date set forth on the Rejected
      Contracts List attached hereto as Annex 1 at any time prior to the later of the Rejection Date or the date of entry
      of an order of the Court approving the rejection.

4
      The Debtors reserve the right to remove any Lease or to amend any Rejection Date set forth on the Rejected
      Leases List attached hereto as Annex 2 at any time prior to the later of the Rejection Date or the date of entry of
      an order of the Court approving the rejection.



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under 28 U.S.C. § 1334, which was referred to this Court under 28 U.S.C. § 157 pursuant to the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012; and this Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2), and that this Court may enter a final order consistent with

Article III of the United States Constitution; and this Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

this Court having found that the Debtors’ notice of the Motion and opportunity for a hearing on

the Motion were appropriate and no other notice need be provided, as set forth herein; and this

Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at a hearing before this Court (the “Hearing”); and this Court having determined

that the legal and factual bases set forth in the Motion and at the Hearing establish just cause for

the relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

        1.       The Motion is granted as set forth herein.

        2.       Each of the Contracts identified on Rejected Contracts List is rejected under section

365 of the Bankruptcy Code effective as of the as of the rejection date listed for each Contract on

the Rejected Contracts List attached hereto as Annex 1.

        3.       Each of the Leases identified on Rejected Leases List is rejected under section 365

of the Bankruptcy Code effective as of the earlier of (a) August 31, 2023, as listed for each Lease

on the Rejected Lease List attached hereto as Annex 2, or (b) the date the Debtors have surrendered

the Premises to the landlord via delivery of the keys, key codes, or alarm codes to the premises, as




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applicable, to the applicable lease counterparty, or, if not delivering such keys or codes, providing

notice that the landlord may re-let the premises.

        4.       The Debtors are authorized, but not directed, to abandon any Personal Property

located at the Premises identified on the Rejected Leases List and all such property is deemed

abandoned as of the Lease Rejection Date free and clear of all liens, claims, encumbrances,

interests, and rights of the Debtors and third parties. The applicable counterparty to each Lease

may utilize or dispose of such Personal Property without liability to any third parties, and without

further notice to any party claiming an interest in such abandoned Personal Property. The

automatic stay, to the extent applicable, is modified to allow for such utilization or disposition.

        5.       Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the validity, priority, or

amount of any particular claim against a Debtor entity; (b) a waiver of the Debtors’ or any other

party in interest’s right to dispute any particular claim on any grounds; (c) a promise or requirement

to pay any particular claim; (d) an implication or admission that any particular claim is of a type

specified or defined in this Order or the Motion; (e) other than as set forth herein and on the

Rejected Contracts List and Rejected Leases Lists, a request or authorization to assume any

agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) a waiver or

limitation of the Debtors’ or any other party in interest’s rights under the Bankruptcy Code or any

other applicable law; or (g) a concession by the Debtors or any other party in interest’s that any

liens (contractual, common law, statutory, or otherwise) satisfied pursuant to this Order are valid

and the Debtors and all other parties in interest expressly reserve their rights to contest the extent,

validity, or perfection or to seek avoidance of all such liens. Any payment made pursuant to this

Order should not be construed as an admission as to the validity, priority, or amount of any



                                                    3
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particular claim or a waiver of the Debtors’ or any other party in interest’s rights to subsequently

dispute such claim.

        6.       The numerosity requirements of Bankruptcy Rule 6006(f)(6) are waived for the

Motion and the rejection of the Contracts and Leases authorized by this Order complies with the

requirements of Bankruptcy Rule 6006(f).

        7.       Nothing in the Motion or this Order shall be deemed or construed as an approval of

an assumption of any contract pursuant to section 365 of the Bankruptcy Code.

        8.       Notice of the Motion as set forth therein shall be deemed good and sufficient notice

of such Motion and the requirements of the Bankruptcy Rules and the Bankruptcy Local Rules are

satisfied by such notice.

        9.       The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

        10.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




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                                                      Annex 1

                                           Rejected Contracts List1




1
    The inclusion of a Contract on this list does not constitute an admission as to the executory or non-executory
    nature of the Contract, or as to the existence or validity of any claims held by the counterparty or counterparties
    to such Contract. The Debtors reserve the right to remove any Contract or to amend any Rejection Date set forth
    on this Rejected Contracts List at any time prior to the later of the Rejection Date or the date of entry of an order
    of the Court approving the rejection.

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                                                   Rejected Contracts List1

                                                                                                                       Rejection
            Non-Debtor
    No.                               Noticing Address        Debtor             Description of Contract               Effective
            Counterparty
                                                                                                                       Date
                                      19448 W 102nd                              Master services agreement for
                                                              YRC
            5 STRING                  Street                                     cartage modernization and all
    1                                                         Enterprise                                               8/31/2023
            SOLUTIONS LLC             Lenexa, KS 66215                           related amendments, renewals,
                                                              Services, Inc.
                                      USA                                        additions, SOWs, etc.
                                      5 TECHNOLOGY
                                                                                 Master software licensing
                                      PARK DRIVE,             YRC
                                                                                 agreement and all related
    2       ALVARIA INC               SUITE 9                 Enterprise                                               8/17/2023
                                                                                 amendments, renewals,
                                      WESTFORD, MA            Services, Inc.
                                                                                 additions, SOWs, upgrades, etc.
                                      01886 USA
                                      5 TECHNOLOGY
                                                                                 Master software licensing
                                      PARK DRIVE,
                                                              Yellow             agreement and all related
    3       ALVARIA INC               SUITE 9                                                                          8/17/2023
                                                              Corporation        amendments, renewals,
                                      WESTFORD, MA
                                                                                 additions, SOWs, upgrades, etc.
                                      01886 USA
                                      2675 Paces Ferry
            American Society of                                                  Master supply agreement and all
                                      Road SE                 YRC
    4       Composers, Authors                                                   related amendments, renewals,         8/31/2023
                                      Atlanta, GA 30339       Worldwide
            and Publishers                                                       additions, SOWs, etc.
                                      USA
                                      PO BOX 71221                               Master agreement and all related
                                                              Yellow
    5       Ansonia                   Charlotte, NC                              amendments, renewals,                 8/31/2023
                                                              Corporation
                                      28272 USA                                  additions, SOWs, etc.
                                      10 Research                                Master business agreement for
                                                              YRC
                                      Parkway                                    digital signage and all related
    6       APPSPACE INC                                      Enterprise                                               8/31/2023
                                      Wallingford, CT                            amendments, renewals,
                                                              Services, Inc.
                                      06492 USA                                  additions, SOWs, etc.
                                      115 North First                            Master business agreement for
                                                              YRC
                                      Street                                     uniforms and all related
    7       ARAMARK                                           Enterprise                                               8/31/2023
                                      Burbank, CA                                amendments, renewals,
                                                              Services, Inc.
                                      91502 USA                                  additions, SOWs, etc.
                                      633 FOLSOM ST           YRC                Master agreement and all related
    8       ASANA INC                 San Francisco, CA       Enterprise         amendments, renewals,                 8/31/2023
                                      94107 USA               Services, Inc.     additions, SOWs, etc.
                                      998 Old Eagle
                                                                                 Master agreement and all related
                                      Road #1215              Yellow
    9       ASSETWORKS INC                                                       amendments, renewals,                 8/25/2023
                                      Wayne, PA 19087         Corporation
                                                                                 additions, SOWs, upgrades, etc.
                                      USA
                                      8019 BOND ST            YRC                Master agreement and all related
    10      AVI SYSTEM, INC           LENEXA, KS              Enterprise         amendments, renewals,                 8/25/2023
                                      66214 USA               Services, Inc.     additions, SOWs, upgrades, etc.




1
        The inclusion of a Contract on this list does not constitute an admission as to the executory or non-executory nature of the
        Contract, or as to the existence or validity of any claims held by the counterparty or counterparties to such Contract. The
        Debtors reserve the right to remove any Contract or to amend any Rejection Date set forth on this Rejected Contracts List at
        any time prior to the later of the Rejection Date or the date of entry of an order of the Court approving the rejection.

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                                                                                                        Rejection
        Non-Debtor
 No.                           Noticing Address     Debtor           Description of Contract            Effective
        Counterparty
                                                                                                        Date
                               31011 VIKING
                                                    YRC              Master agreement and all related
                               PARKWAY
  11    Banyan Technologies                         Enterprise       amendments, renewals,              8/31/2023
                               WESTLAKE, OH
                                                    Services, Inc.   additions, SOWs, etc.
                               44145 USA
                               653 Lexington                         Master agreement for pricing
                                                    YRC
                               Circle                                and rating tool and all related
  12    Batchmark XL                                Enterprise                                          8/31/2023
                               Peachtree City, GA                    amendments, renewals,
                                                    Services, Inc.
                               30269 USA                             additions, SOWs, etc.
        BAYARD                 1430 Broadway        YRC              Master agreement and all related
  13    ADVERTISING            New York, NY         Enterprise       amendments, renewals,              8/31/2023
        AGENCY                 10018 USA            Services, Inc.   additions, SOWs, etc.
                               417 Wedgemere Pl     YRC              Master agreement and all related
        BRIDGE MY
  14                           Libertyville, IL     Enterprise       amendments, renewals,              8/31/2023
        RETURN
                               60048 USA            Services, Inc.   additions, SOWs, etc.
                               10 Music Square
                                                                     Master licensing agreement and
                               East                 YRC
  15    Broadcast Music Inc.                                         all related amendments,            8/31/2023
                               Nashville, TN        Worldwide
                                                                     renewals, additions, SOWs, etc.
                               37203 USA
                               623 FIFTH AVE,
                                                    YRC              Master agreement and all related
        CAPGEMINI              33RD FL
  16                                                Enterprise       amendments, renewals,              8/25/2023
        AMERICA                NEW YORK, NY
                                                    Services, Inc.   additions, SOWs, upgrades, etc.
                               10022 USA
                               2012 Corporate
                                                    YRC              Master agreement and all related
                               Lane
  17    CAPSIM                                      Enterprise       amendments, renewals,              8/31/2023
                               Naperville, IL
                                                    Services, Inc.   additions, SOWs, etc.
                               60563 USA
        CENTER FOR             PO Box 901296        YRC              Master agreement and all related
  18    DISABILITY             Kansas City, MO      Enterprise       amendments, renewals,              8/31/2023
        INCLUSION              64190 USA            Services, Inc.   additions, SOWs, etc.
        CENTER FOR             1501 M Street, NW    YRC              Master agreement and all related
  19    WORKPLACE              Washington, DC       Enterprise       amendments, renewals,              8/31/2023
        COMPLIANCE             20005 USA            Services, Inc.   additions, SOWs, etc.
                               6800 Cintas Blvd.                     Master supply agreement and all
  20    Cintas Corporation     Cincinatti, OH       No Contract      related amendments, renewals,      8/31/2023
                               45262 USA                             additions, SOWs, etc.
                               222 Rosewood
                                                                     Master licensing agreement and
        Copyright Clearance    Drive                YRC
  21                                                                 all related amendments,            8/31/2023
        Center                 Danvers, MA          Worldwide
                                                                     renewals, additions, SOWs, etc.
                               01923 USA
                               704 Executive
                                                                     Master services agreement and
                               Blvd, Ste A          Yellow
  22    CRM                                                          all related amendments,            8/31/2023
                               Valley Cottage,      Corporation
                                                                     renewals, additions, SOWs, etc.
                               NY 10989 USA
        Cummins Inc. d/b/a     1600 Buerkle Rd.                      Master services agreement and
  23    Cummins Sales and      White Bear Lake,     YRC Inc.         all related amendments,            8/31/2023
        Service                MN 55110 USA                          renewals, additions, SOWs, etc.
                               PO BOX 931197                         Master agreement and all related
                                                    Yellow
  24    D&B Transport          Atlanta, GA 31193                     amendments, renewals,              8/31/2023
                                                    Corporation
                               USA                                   additions, SOWs, etc.
                                                        3
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                                                                                                      Rejection
        Non-Debtor
 No.                         Noticing Address     Debtor           Description of Contract            Effective
        Counterparty
                                                                                                      Date
                             8405 SW Nimbus
                                                  YRC              Master agreement and all related
        DAT SOLUTIONS,       Street
  25                                              Enterprise       amendments, renewals,              8/31/2023
        LLC                  Beaverton, OR
                                                  Services, Inc.   additions, SOWs, etc.
                             97008 USA
        DEVELOPMENT          1225 Washington
                                                  YRC              Master services agreement and
        DIMENSIONS           Pike
  26                                              Enterprise       all related amendments,            8/31/2023
        INTERNATIONAL        Bridgeville, PA
                                                  Services, Inc.   renewals, additions, SOWs, etc.
        INC                  15017-2838 USA
                             2045 W Grand Ave     YRC              Master agreement and all related
  27    DISPLAYR             Chicago, IL          Enterprise       amendments, renewals,              8/31/2023
                             60612-1577 USA       Services, Inc.   additions, SOWs, etc.
                             501 Commerce St,
                             11th Floor, Suite                     Cumberland Suite Limited
  28    Dream Suites, Inc    1120                 YRC Inc.         License Agreement dated as of      8/17/2023
                             Nashville, TN                         January 13, 2022
                             37203 USA
                             18205 Capitol Ave,
                                                                   Master fuel supply agreement
                             Ste 100
  29    DTN, Inc.                                 No Contract      and all related amendments,        8/31/2023
                             Omaha, NE 68002
                                                                   renewals, additions, SOWs, etc.
                             USA
                             5335 Gate Parkway                     Master services agreement for
                                                  YRC
        DUN &                Jacksonville, FL                      collections activities and all
  30                                              Enterprise                                          8/31/2023
        BRADSTREET, INC      32256 USA                             related amendments, renewals,
                                                  Services, Inc.
                                                                   additions, SOWs, etc.
                             2445 M St NW         YRC              Master services agreement and
        EAB GLOBAL INC
  31                         Washington, DC       Enterprise       all related amendments,            8/31/2023
        (Seramount)
                             20037 USA            Services, Inc.   renewals, additions, SOWs, etc.
        EMPLOYMENT           1501 M Street, NW    YRC              Master services agreement and
  32    ADVISORY             Washington, DC       Enterprise       all related amendments,            8/31/2023
        SERVICES INC         20005 USA            Services, Inc.   renewals, additions, SOWs, etc.
                             2366 Bernville Rd.   YRC              Master services agreement and
        EnerSys Delaware
  33                         Reading, PA          Enterprise       all related amendments,            8/31/2023
        Inc.
                             19605 USA            Services, Inc.   renewals, additions, SOWs, etc.
                             DIVISION OF
                             TEBER PTY LTD,
                                                                   Master agreement for
                             LEVEL 2, 163         YRC
        EXPLORE                                                    recruitment and all related
  34                         EASTERN RD           Enterprise                                          8/31/2023
        CAREERS                                                    amendments, renewals,
                             SOUTH                Services, Inc.
                                                                   additions, SOWs, etc.
                             MELBOURNE,
                             03205 Australia
                             14046 W. 107th                        Master services agreement for
                                                  YRC
        Focused              Street                                pest control and all related
  35                                              Enterprise                                          8/31/2023
        Xtermination         Lenexa, KS 66215                      amendments, renewals,
                                                  Services, Inc.
                             USA                                   additions, SOWs, etc.
                             56 TOP
                                                  YRC              Master agreement and all related
                             GALLANT ROAD
  36    GARTNER, INC.                             Enterprise       amendments, renewals,              8/25/2023
                             STAMFORD, CT
                                                  Services, Inc.   additions, SOWs, upgrades, etc.
                             06902 USA


                                                      4
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                                                                                                      Rejection
        Non-Debtor
 No.                          Noticing Address    Debtor           Description of Contract            Effective
        Counterparty
                                                                                                      Date
        General Fire          10324 W. 79th St    YRC              Master agreement and all related
  37    Sprinkler Company,    Shawnee, KS         Enterprise       amendments, renewals,              8/31/2023
        LLC                   66214 USA           Services, Inc.   additions, SOWs, etc.
                              1100 Island Drive   YRC              Master agreement and all related
  38    Glint, Inc            Redwood City, CA    Enterprise       amendments, renewals,              8/31/2023
                              94065 USA           Services, Inc.   additions, SOWs, etc.
                              6945 W. 152nd
                                                                   Master agreement and all related
                              Terr
  39    Goodwin Pro Turf                          YRC Inc.         amendments, renewals,              8/31/2023
                              Overland Park, KS
                                                                   additions, SOWs, etc.
                              66223 USA
                              9450 SW GEMINI
        GUROBI                                    YRC              Master agreement and all related
                              DR. #90729
  40    OPTIMIZATION,                             Enterprise       amendments, renewals,              8/25/2023
                              BEAVERTON,
        INC.                                      Services, Inc.   additions, SOWs, upgrades, etc.
                              OR 97008 USA
                              29348 NETWORK                        Master agreement for
                                                  YRC
                              PLACE                                recruitment and all related
  41    ICIMS INC                                 Enterprise                                          8/31/2023
                              Chicago, IL 60673                    amendments, renewals,
                                                  Services, Inc.
                              USA                                  additions, SOWs, etc.
                              P.O. Box 660367                      Master agreement for
                                                  YRC
                              Dallas, TX 75266                     recruitment and all related
  42    INDEED, INC.                              Enterprise                                          8/31/2023
                              USA                                  amendments, renewals,
                                                  Services, Inc.
                                                                   additions, SOWs, etc.
        INSTITUTE FOR         241 Ridge St        YRC              Master agreement and all related
  43    MANAGEMENT            Reno, NV 89501      Enterprise       amendments, renewals,              8/31/2023
        STUDIES               USA                 Services, Inc.   additions, SOWs, etc.
                              190 North Union
                                                  YRC              Master agreement and all related
        INTERACTIVE           Street
  44                                              Enterprise       amendments, renewals,              8/31/2023
        MEDIA GROUP            Akron, OH 44304
                                                  Services, Inc.   additions, SOWs, etc.
                              USA
                              400 March Road                       Master agreement and all related
                                                  Yellow
  45    Intouch Insight       Ottawa, Ontario                      amendments, renewals,              8/31/2023
                                                  Corporation
                              K2K 3H4 Canada                       additions, SOWs, etc.
                              400 March Road      YRC              Master business agreement and
        INTOUCH INSIGHT
  46                          Ottawa, Ontario     Enterprise       all related amendments,            8/31/2023
        INC
                              K2K 3H4 Canada      Services, Inc.   renewals, additions, SOWs, etc.
                              ATTN: VANESSA
                                                                   Master services agreement for
                              PLEASANT            YRC
                                                                   chiller maintenance and all
  47    Johnson Controls      LITHIA              Enterprise                                          8/31/2023
                                                                   related amendments, renewals,
                              SPRINGS, GA         Services, Inc.
                                                                   additions, SOWs, etc.
                              30122 USA
                              534 S Kansas Ave,
                                                                   Master agreement and all related
                              Ste 1400            Yellow
  48    Kansas Chamber                                             amendments, renewals,              8/31/2023
                              Topeka, KS 66603    Corporation
                                                                   additions, SOWs, etc.
                              USA
                              14955 W 117th St                     Master agreement and all related
        KBS Constructors,
  49                          Olathe, KS 66062    YRC Inc.         amendments, renewals,              8/31/2023
        Inc
                              USA                                  additions, SOWs, etc.


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                                                                                                      Rejection
        Non-Debtor
 No.                         Noticing Address    Debtor           Description of Contract             Effective
        Counterparty
                                                                                                      Date
                             11205 W 79TH
                                                 YRC              Master agreement and all related
        KEYHOLE              STREET
  50                                             Enterprise       amendments, renewals,               8/25/2023
        SOFTWARE LLC         LENEXA, KS
                                                 Services, Inc.   additions, SOWs, upgrades, etc.
                             66214 USA
                             11205 W 79TH
                                                                  Master agreement and all related
        KEYHOLE              STREET              Yellow
  51                                                              amendments, renewals,               8/25/2023
        SOFTWARE LLC         LENEXA, KS          Corporation
                                                                  additions, SOWs, upgrades, etc.
                             66214 USA
                             11555 Heron Bay                      Master services agreement for
                                                 YRC
        LEAN STAFFING        Blvd Suite 301                       staffing services and all related
  52                                             Enterprise                                           8/31/2023
        SOLUTIONS INC        Coral Gables, FL                     amendments, renewals,
                                                 Services, Inc.
                             33076 USA                            additions, SOWs, etc.
                             740 WEST NEW                         Master software licensing
        LEXMARK                                  YRC
                             CIRCLE ROAD                          agreement and all related
  53    INTERNATIONAL,                           Enterprise                                           8/17/2023
                             LEXINGTON, KY                        amendments, renewals,
        INC.                                     Services, Inc.
                             40550 USA                            additions, SOWs, upgrades, etc.
                             1050 Dearborn                        Master agreement and all related
  54    Liebert              Drive Columbus,     YRC Inc.         amendments, renewals,               8/31/2023
                             OH 43229 USA                         additions, SOWs, etc.
                             62228
                                                                  Master agreement for
                             COLLECTIONS         YRC
        LINKEDIN                                                  recruitment and all related
  55                         CENTER DR           Enterprise                                           8/31/2023
        CORPORATION                                               amendments, renewals,
                             Chicago, IL 60693   Services, Inc.
                                                                  additions, SOWs, etc.
                             USA
                             5201 Great
                                                 YRC              Master agreement and all related
                             America Parkway
  56    LumenData Inc                            Enterprise       amendments, renewals,               8/31/2023
                             Santa Clara , CA
                                                 Services, Inc.   additions, SOWs, etc.
                             95054 USA
        MITSUBISHI           2121 W Sam                           Master equipment Sales
                                                 YRC
        LOGISNEXT            Houston Parkway                      agreement for marketing services
  57                                             Enterprise                                           8/31/2023
        AMERICAS             N Houston, TX                        and all related amendments,
                                                 Services, Inc.
        (HOUSTON) INC        77043 USA                            renewals, additions, SOWs, etc.
                             3405 S.E. 29th St   YRC              Master agreement and all related
        MTM
  58                         Oklahoma City,      Enterprise       amendments, renewals,               8/31/2023
        RECOGNITION
                             OK 73115 USA        Services, Inc.   additions, SOWs, etc.
                             421 E 74th Terr     YRC              Master agreement and all related
        N. CHRISTY
  59                         Kansas City, MO     Enterprise       amendments, renewals,               8/31/2023
        CONSULTING
                             64131-1636 USA      Services, Inc.   additions, SOWs, etc.
                             1604 West Diehl
                                                 YRC              Master agreement and all related
                             Rd
  60    Nalco                                    Enterprise       amendments, renewals,               8/31/2023
                             Naperville, IL
                                                 Services, Inc.   additions, SOWs, etc.
                             60563 USA
                             1001 N FAIRFAX
                                                 YRC              Master membership agreement
                             ST STE 600
  61    NMFTA                                    Enterprise       and all related amendments,         8/31/2023
                             ALEXANDRIA,
                                                 Services, Inc.   renewals, additions, SOWs, etc.
                             VA 22314 USA




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                                                                                                       Rejection
        Non-Debtor
 No.                         Noticing Address     Debtor           Description of Contract             Effective
        Counterparty
                                                                                                       Date
                             100 FIRST
                                                                   Master software licensing
                             STREET               YRC
                                                                   agreement and all related
  62    OKTA INC             SAN                  Enterprise                                           8/24/2023
                                                                   amendments, renewals,
                             FRANCISCO, CA        Services, Inc.
                                                                   additions, SOWs, upgrades, etc.
                             94105 USA
                             11720 AMBER
                             PARK DRIVE,          YRC              Master agreement and all related
  63    OPENTEXT INC.        SUITE 200            Enterprise       amendments, renewals,               8/24/2023
                             ALPHARETTA,          Services, Inc.   additions, SOWs, upgrades, etc.
                             GA 30009 USA
                             9737
                             Washingtonian        YRC              Master agreement and all related
  64    OPIS                 Blvd. Suite 100      Enterprise       amendments, renewals,               8/31/2023
                             Gaithersburg, MD     Services, Inc.   additions, SOWs, etc.
                             20878 USA
                             3401 OLYMPUS                          Master software licensing
                                                  YRC
                             BLVD, SUITE 500                       agreement and all related
  65    OPTYM                                     Enterprise                                           8/24/2023
                             DALLAS, TX                            amendments, renewals,
                                                  Services, Inc.
                             75019 USA                             additions, SOWs, upgrades, etc.
                             500 ORACLE
                                                                   Software licenses and
                             PARKWAY              YRC
        ORACLE AMERICA                                             maintenance agreement
  66                         REDWOOD              Enterprise                                           8/24/2023
        INC                                                        Contract ID: CPQ-
                             SHORES, CA           Services, Inc.
                                                                   2250815,CPQ-2250828 - 1
                             94065 USA
                             15345
                             BARRANCA             YRC              Master agreement and all related
  67    PRINTRONIX LLC       PARKWAY              Enterprise       amendments, renewals,               8/17/2023
                             IRVINE, CA           Services, Inc.   additions, SOWs, upgrades, etc.
                             92618 USA
                             40 Water Street      YRC              Master agreement and all related
  68    PUBLICIS SAPIENT     Boston, MA           Enterprise       amendments, renewals,               8/25/2023
                             02109 USA            Services, Inc.   additions, SOWs, upgrades, etc.
                             7401 NW 109th
                                                  YRC              Master agreement and all related
                             Street
  69    Quality Vending                           Enterprise       amendments, renewals,               8/31/2023
                             Kansas City, MO
                                                  Services, Inc.   additions, SOWs, etc.
                             64153 USA
                             8770 W. Bryn
                                                                   Master agreement and all related
                             Mawr Ave.            Yellow
  70    RAND MCNALLY                                               amendments, renewals,               8/31/2023
                             Chicago, IL 60631    Corporation
                                                                   additions, SOWs, etc.
                             USA
                             653 Lexington                         Master agreement for pricing
                                                  YRC
                             Circle                                data and services and all related
  71    Rateware                                  Enterprise                                           8/31/2023
                             Peachtree City, GA                    amendments, renewals,
                                                  Services, Inc.
                             30269 USA                             additions, SOWs, etc.
                             P.O. Box 257                          Vendor master services
                                                  YRC
        REDDENS FLEET        Mt. Washington,                       agreement and all related
  72                                              Enterprise                                           8/31/2023
        MAINTENANCE          KY 40047 USA                          amendments, renewals,
                                                  Services, Inc.
                                                                   additions, SOWs, etc.


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                                                                                                      Rejection
        Non-Debtor
 No.                         Noticing Address     Debtor           Description of Contract            Effective
        Counterparty
                                                                                                      Date
                             1741 Elm Hill Pike   YRC              Master agreement and all related
        Richards and
  73                         Nashville, TN        Enterprise       amendments, renewals,              8/31/2023
        Richards, LLC
                             37210 USA            Services, Inc.   additions, SOWs, etc.
                             2884 Sandhill                         Master agreement for
        ROBERT HALF                               YRC
                             Road                                  recruitment and all related
  74    FINANCE &                                 Enterprise                                          8/31/2023
                             Menlo Park, CA                        amendments, renewals,
        ACCOUNTING                                Services, Inc.
                             94025 USA                             additions, SOWs, etc.
                             55 Water Street                       Master data subscription
                                                  YRC
        S&P Global Inc.      New York, NY                          agreement and all related
  75                                              Enterprise                                          8/31/2023
        (Platts)             10041 USA                             amendments, renewals,
                                                  Services, Inc.
                                                                   additions, SOWs, etc.
                             129 RUSKIN DR                         Master agreement for consulting
                                                  YRC
                             Chapel Hill, NC                       services and all related
  76    SAIR COLLECTIVE                           Enterprise                                          8/31/2023
                             27516 USA                             amendments, renewals,
                                                  Services, Inc.
                                                                   additions, SOWs, etc.
                             415 MISSION
                                                                   Master software licensing
                             STREET, 3RD FL       YRC
        SALESFORCE.COM                                             agreement and all related
  77                         SAN                  Enterprise                                          8/24/2023
        INC                                                        amendments, renewals,
                             FRANCISCO, CA        Services, Inc.
                                                                   additions, SOWs, upgrades, etc.
                             94105 USA
                             14711 W. 114th                        Master agreement for janitorial
        SC Realty Services   Terr.                                 services and all related
  78                                              YRC Inc.                                            8/31/2023
        Inc. d/b/a SG360     Lenexa, KS 66215                      amendments, renewals,
                             USA                                   additions, SOWs, etc.
                             3101 S
                                                                   Master services agreement for
                             PACKERLAND           YRC
                                                                   purchased transportation and all
  79    SCHNEIDER            DRIVE                Enterprise                                          8/31/2023
                                                                   related amendments, renewals,
                             GREEN BAY, WI        Services, Inc.
                                                                   additions, SOWs, etc.
                             54313 USA
                             3101 S
                                                                   Master services agreement for
                             PACKERLAND
                                                                   purchased transportation and all
  80    SCHNEIDER            DRIVE                YRC Inc.                                            8/31/2023
                                                                   related amendments, renewals,
                             GREEN BAY, WI
                                                                   additions, SOWs, etc.
                             54313 USA
                             888 3rd Street NW                     Master services agreement for
                             Altlanta, GA         Yellow           liftgate identification and all
  81    SHIPLIFY                                                                                      8/31/2023
                             30318 USA            Corporation      related amendments, renewals,
                                                                   additions, SOWs, etc.
                             888 3rd Street NW                     Master services agreement for
                                                  YRC
                             Altlanta, GA                          liftgate identification and all
  82    SHIPLIFY                                  Enterprise                                          8/31/2023
                             30318 USA                             related amendments, renewals,
                                                  Services, Inc.
                                                                   additions, SOWs, etc.
                             1000 Deerfield
                                                  YRC              Master business agreement and
                             Parkway
  83    Siemens                                   Enterprise       all related amendments,            8/31/2023
                             Buffalo Grove, IL
                                                  Services, Inc.   renewals, additions, SOWs, etc.
                             60089 USA




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                                                                                                     Rejection
        Non-Debtor
 No.                         Noticing Address    Debtor           Description of Contract            Effective
        Counterparty
                                                                                                     Date
                             1000 Signature
                                                 YRC              Master agreement and all related
        SIGNATURE            Drive
  84                                             Enterprise       amendments, renewals,              8/31/2023
        GRAPHICS INC         Porter, IN 46304
                                                 Services, Inc.   additions, SOWs, etc.
                             USA
                             300 Innovative
                                                 YRC              Master agreement and all related
        SKILLSOFT            Way
  85                                             Enterprise       amendments, renewals,              8/31/2023
        CORPORATION          Nashua, NH
                                                 Services, Inc.   additions, SOWs, etc.
                             03062 USA
                             31390 VIKING                         Master software licensing
        TECHNOLOGY                               YRC
                             PARKWAY                              agreement and all related
  86    RECOVERY                                 Enterprise                                          8/24/2023
                             WESTLAKE, OH                         amendments, renewals,
        GROUP LTD.                               Services, Inc.
                             44145 USA                            additions, SOWs, upgrades, etc.
                             31390 VIKING                         Master software licensing
        TECHNOLOGY
                             PARKWAY             Yellow           agreement and all related
  87    RECOVERY                                                                                     8/24/2023
                             WESTLAKE, OH        Corporation      amendments, renewals,
        GROUP LTD.
                             44145 USA                            additions, SOWs, upgrades, etc.
                             7720 Water St.      YRC              Master agreement and all related
  88    TELESKOPE LLC        Fulton, MD 20759    Enterprise       amendments, renewals,              8/31/2023
                             USA                 Services, Inc.   additions, SOWs, etc.
                             100 CORPORATE
        TOM MCLEOD                               YRC              Master agreement and all related
                             PARKWAY
  89    SOFTWARE                                 Enterprise       amendments, renewals,              8/24/2023
                             BIRMINGHAM,
        CORPORATION                              Services, Inc.   additions, SOWs, upgrades, etc.
                             AL 35242 USA
                             2101
        VALOREM                                  YRC              Master agreement and all related
                             BROADWAY
  90    CONSULTING                               Enterprise       amendments, renewals,              8/25/2023
                             KANSAS CITY,
        GROUP, L.L.C.                            Services, Inc.   additions, SOWs, upgrades, etc.
                             MO 64108 USA
                             432 SOUTH
                             TECH RIDGE                           Master agreement and all related
                                                 Yellow
  91    VASION               DRIVE                                amendments, renewals,              8/17/2023
                                                 Corporation
                             SAINT GEORGE,                        additions, SOWs, upgrades, etc.
                             UT 84770 USA
                             9776 Legler Rd.                      Master agreement and all related
  92    Vertiv               Lenexa, KS 66219    YRC Inc.         amendments, renewals,              8/31/2023
                             USA                                  additions, SOWs, etc.
                             610 Opperman                         Master services agreement for
                             Drive               YRC              legal research and all related
  93    Westlaw                                                                                      8/31/2023
                             Eagan, MN 55123     Worldwide        amendments, renewals,
                             USA                                  additions, SOWs, etc.
                             601 WEST 26TH
                             STREET, SUITE                        Master agreement and all related
                                                 Yellow
  94    Wheels up            900                                  amendments, renewals,              8/31/2023
                                                 Corporation
                             NEW YORK, NY                         additions, SOWs, etc.
                             10001 USA
                             601 West 26th
                                                                  Master agreement and all related
        WHEELS UP            Street, Suite 900
  95                                             YRC Inc.         amendments, renewals,              8/31/2023
        PARTNERS LLC         New York, NY
                                                                  additions, SOWs, etc.
                             10001 USA


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                                                                                                   Rejection
        Non-Debtor
 No.                         Noticing Address   Debtor           Description of Contract           Effective
        Counterparty
                                                                                                   Date
                             701 BRAZOS,                         Master software licensing
                                                YRC
                             16TH FLOOR                          agreement and all related
  96    ZELLO INC                               Enterprise                                         8/24/2023
                             AUSTIN, TX                          amendments, renewals,
                                                Services, Inc.
                             78701 USA                           additions, SOWs, upgrades, etc.




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                                                     Annex 2

                                            Rejected Leases List1




1
    The inclusion of a Lease on this list does not constitute an admission as to the executory or non-executory nature
    of the Lease, or as to the existence or validity of any claims held by the counterparty or counterparties to such
    Lease. The Debtors reserve the right to remove any Lease or to amend any Rejection Date set forth on this
    Rejected Leases List at any time prior to the later of the Rejection Date or the date of entry of an order of the
    Court approving the rejection.

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                                                   Rejected Leases List1

                                                                                                                   Rejection
          Non-Debtor                                                                            Abandoned
    No.                          Debtor        Description of Lease       Property Address                         Effective
          Counterparty                                                                          Property
                                                                                                                   Date
          BIG SKY                              Lease Agreement by
          PROPERTY               USF           and among BIG SKY          401 Jackrabbit
     1    MANAGEMENT             Reddaway      PROPERTY                   Lane, Belgrade,       N/A                 8/31/2023
          PO Box 6000,           Inc.          MANAGEMENT                 MT 59714
          Butte, MT 59702                      dated as of 8/20/21
                                               Lease Agreement (as
          BLACH
                                               amended) by and
          INVESTMENT             USF
                                               among BLACH                131 Main Street,
     2    GROUP                  Reddaway                                                       N/A                 8/31/2023
                                               INVESTMENT                 Elko, NV 89801
          131 Main Street,       Inc.
                                               GROUP dated as of
          Elko, NV 89801
                                               4/9/15
          BLUEBIRD REAL                                                                         Furniture,
                                               Lease Agreement (as
          ESTATE                                                                                fixtures, IT
                                               amended) by and            2801 S Kiwanis
          HOLDINGS, LLC                                                                         equipment,
                                               among BLUEBIRD             Ave, 3rd Floor,
     3    201 North              YRC Inc.                                                       other               8/31/2023
                                               REAL ESTATE                Sioux Falls, SD
          Minnesota Avenue,                                                                     miscellaneous
                                               HOLDINGS, LLC              57105
          Suite 101, Sioux                                                                      de minimis
                                               dated as of 3/10/95
          Falls, SD                                                                             items
          BOYER
                                               Lease Agreement by
          LOGISTICS, INC.        USF                                      7318 4th Avenue
                                               and among BOYER
     4    7318 4th Avenue        Reddaway                                 S, Seattle, WA        N/A                 8/31/2023
                                               LOGISTICS, INC.
          South, Seattle, WA     Inc.                                     98108
                                               dated as of 4/23/08
          98108
          C AND S
          BROKERAGE                            Lease Agreement by
                                 USF                                      3122 Hilyard Ave,
          PO Box 143 3122                      and among C AND S
     5                           Reddaway                                 Klamath Falls, OR N/A                     8/31/2023
          Hilyard Ave,                         BROKERAGE dated
                                 Inc.                                     97601
          Klamath Falls, OR                    as of 3/5/13
          97601
          DAVID M. AND                         Lease Agreement by
          ANN B. MORSE           USF           and among DAVID M. 115 W Main
     6    615 S Silver Valley    Reddaway      AND ANN B.         Street, Beaver, UT N/A                            8/31/2023
          Road, Leeds, UT        Inc.          MORSE dated as of  84713
          84746                                9/21/22




1
     The inclusion of a Lease on this list does not constitute an admission as to the executory or non-executory nature of the
     Lease, or as to the existence or validity of any claims held by the counterparty or counterparties to such Lease. The Debtors
     reserve the right to remove any Lease or to amend any Rejection Date set forth on this Rejected Leases List at any time prior
     to the later of the Rejection Date or the date of entry of an order of the Court approving the rejection.

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                                                                                                    Rejection
        Non-Debtor                                                                  Abandoned
  No.                        Debtor     Description of Lease    Property Address                    Effective
        Counterparty                                                                Property
                                                                                                    Date
                                                                                 Furniture,
                                                                                 fixtures, IT
                                        Lease Agreement (as
        DWJS, LLC                                               1339 S Byrne     equipment,
                                        amended) by and
    7   3440 Secor Road,     YRC Inc.                           Road, Toledo, OH other               8/31/2023
                                        among DWJS, LLC
        Toledo, OH 43606                                        43606            miscellaneous
                                        dated as of 7/6/05
                                                                                 de minimis
                                                                                 items
        ESTES EXPRESS
                                        Lease Agreement by
        LINES                USF                                10762 Highway
                                        and among ESTES
    8   3901 West Broad      Reddaway                           287, Three Forks,   N/A              8/31/2023
                                        EXPRESS LINES
        Street, Richmond,    Inc.                               MT 59752
                                        dated as 8/31/09
        VA 23230
        FEDERAL                                                                     Furniture,
        BRIDGE                          Lease Agreement by                          fixtures, IT
                             YRC                                1555 Venetian
        CORPORATION                     and among FEDERAL                           equipment,
                             Freight                            Boulevard Point
    9   1555 Venetian                   BRIDGE                                      other            8/31/2023
                             Canada                             Edward, ON N7T
        Boulevard, Point                CORPORATION                                 miscellaneous
                             Company                            0A9
        Edward, ON N7T                  dated as of 8/19/19                         de minimis
        0A9                                                                         items
                                                                                   Furniture,
                                                                                   fixtures, IT
      GLEN EG, LLC                      Lease Agreement by
                                                                5200 110th Street, equipment,
      PO Box 12005                      and among YRC Inc.
   10                        YRC Inc.                           Overland Park, KS other              8/31/2023
      Overland Park, KS                 and GLEN EG, LLC
                                                                66211              miscellaneous
      66285                             dated as of 11/1/2014
                                                                                   de minimis
                                                                                   items
                         YRC
      HARTMAN ROAD Logistics            Lease Agreement by
      LLC                Services,      and among               300 Hartman
   11 1904 Monroe Drive, Inc. (f/k/a    HARTMAN ROAD            Road, Austell, GA N/A                8/31/2023
      Suite 250, Atlanta HNRY           LLC dated as of         30168
      GA 30324           Logistics,     1/20/21
                         Inc.)
                                        Lease Agreement (as                   Furniture,
      HEALTHSOURCE
                                        amended) by and                       fixtures, IT
      INTEGRATED
                                        among               2121 SW Chelsea equipment,
      SOLUTIONS
   12                   YRC Inc.        HEALTHSOURCE        Drive, Topeka, KS other                  8/31/2023
      2121 SW Chelsea
                                        INTEGRATED          66614             miscellaneous
      Drive, Topeka, KS
                                        SOLUTIONS dated as                    de minimis
      66614
                                        of 9/8/17                             items
      MARIA
                                        Lease Agreement by
      ONTIVEROS                                            1067 E Pancake
                                        and among MARIA
   13 335 Edwards         YRC Inc.                         Boulevard,        N/A                     8/31/2023
                                        ONTIVEROS dated as
      Avenue, Liberal, KS                                  Liberal, KS 67901
                                        of 9/16/21
      67901




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                                                                                                     Rejection
        Non-Debtor                                                                 Abandoned
  No.                        Debtor     Description of Lease   Property Address                      Effective
        Counterparty                                                               Property
                                                                                                     Date
      MATELICH
                                        Lease Agreement by
      CRANE PIER &
                             USF        and among           3085 Highway 93
      PILING
   14                        Reddaway   MATELICH CRANE South, Kalispell,           N/A                8/31/2023
      PO Box 1621,
                             Inc.       PIER & PILING dated MT 59901
      Kalispell, MT
                                        as of 4/21/21
      59903
      MULTI-BASE,                       Lease Agreement by
                                                               3835 Copley
      INC.                              and among MULTI-
   15                        YRC Inc.                          Road, Copley, OH N/A                   8/31/2023
      3835 Copley Road,                 BASE, INC. dated as
                                                               44321
      Copley, OH 44321                  of 11/23/09
      NAPA AUTO                         Lease Agreement by     841 W M. L.
      PARTS                             and among NAPA         King. Jr. Way,
   16                        YRC Inc.                                              N/A                8/31/2023
      829 MLK Way,                      AUTO PARTS dated       Merced, CA
      Merced, CA 95340                  as of 11/6/09          95340
                                                                               Furniture,
      NIAGARA FALLS                                         14154 Niagara      fixtures, IT
                                        Lease Agreement by
      BRIDGE                                                Parkway, Suite     equipment,
                                        and among NIAGARA
   17 PO Box 395        YRC Inc.                            215                other                  8/31/2023
                                        FALLS BRIDGE
      Niagara Falls, ON                                     St. Catharines, ON miscellaneous
                                        dated as of 7/29/19
      L2E 6T8                                               L0S 1J0            de minimis
                                                                               items
      NORSTAR                           Lease Agreement (as
                             YRC
      WALKER INC.                       amended) by and        4055 Walker
                             Freight
   18 7077 Keele Street,                among NORSTAR          Road, Windsor,      N/A                8/31/2023
                             Canada
      Suite 102, Concord,               WALKER INC. dated      ON N8W 3T6
                             Company
      ON L4K 0B6                        as of 4/30/97
      NW 5+B OFFICE                     Lease Agreement (as
                                                                                   Furniture,
      AND RETAIL LLC                    amended) by and        501 Commerce
                                                                                   fixtures, other
      5036 Broadway                     among YRC Inc. and     Street, Suite 1100,
   19                   YRC Inc.                                                   miscellaneous      8/31/2023
      Place, Suite 216,                 NW 5+B OFFICE          Nashville, TN
                                                                                   de minimis
      Nashville, TN                     AND RETAIL LLC         37203
                                                                                   items
      37203                             dated as of 1/26/22
      PACIFICORP
                                        Lease Agreement by
      1407 W North                                          2410 S 2700 W,
                                        and among
   20 Temple, Suite 110,     YRC Inc.                       Salt Lake City, UT N/A                    8/31/2023
                                        PACIFICORP dated as
      Salt Lake City, UT                                    84119
                                        of 1/1/20
      84116

      PAUL ISAACSON                     Lease Agreement by     646 Burlington
                             USF
      3940 Isaacson Rd,                 and among PAUL         Boulevard, #B,
   21                        Reddaway                                              N/A                8/31/2023
      Bellingham, WA                    ISAACSON dated as      Burlington, WA
                             Inc.
      98226                             of 1/17/11             98233

                                        Lease Agreement (as
      PEARL LENZEN
                                        amended) by and        1000 W Highway
      678 10th Street,
   22                        YRC Inc.   among PEARL            212, Granite Falls, N/A                8/31/2023
      Granite Falls, MN
                                        LENZEN dated as of     MN 56241
      56241
                                        12/16/98

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                                                                                                      Rejection
        Non-Debtor                                                                    Abandoned
  No.                        Debtor     Description of Lease   Property Address                       Effective
        Counterparty                                                                  Property
                                                                                                      Date
      PORT OF                           Lease Agreement by
      SEATTLE                USF        and among PORT OF
                                                               Port of Seattle,
   23 PO Box 34249-          Reddaway   SEATTLE dated as of                      N/A                   8/31/2023
                                                               Seattle, WA 98117
      1249, Seattle, WA      Inc.       1/1/10 (no lease -
      98124                             earliest payment)
      PORT OF
                                        Lease Agreement by
      SEATTLE                                                  Port of Seattle,
                                        and among PORT OF
   24 PO Box 34249-          YRC Inc.                          Pier 91, Seattle,      N/A              8/31/2023
                                        SEATTLE dated as of
      1249, Seattle, WA                                        WA 98124
                                        6/14/14
      98124
      PRICE PROPERTY                    Lease Agreement (as
                                                                                      Furniture,
      AND                               amended) by and
                                                                                      fixtures, IT
      INVESTMENTS                       among YRC Inc. and
                                                               10990 Roe              equipment,
      LLC AND GREEN-                    PRICE PROPERTY
   25                  YRC Inc.                                Avenue, Overland       other            8/31/2023
      BLUE 1818 LLC                     AND INVESTMENTS
                                                               Park, KS 66211         miscellaneous
      PO Box 12067,                     LLC AND GREEN-
                                                                                      de minimis
      Shawnee Mission,                  BLUE 1818 LLC
                                                                                      items
      KS 66282-2067                     dated as of 10/31/2009
      REGENCY WEST                                                              Furniture,
                                        Lease Agreement (as
      OFFICE                                                                    fixtures, IT
                                        amended) by and        4800 Westown
      PARTNERS                                                                  equipment,
                                        among REGENCY          Parkway, Suite
   26 1080 Jordan Creek      YRC Inc.                                           other                  8/31/2023
                                        WEST OFFICE            120, West Des
      Parkway, Suite 200                                                        miscellaneous
                                        PARTNERS dated as      Moines, IA 50266
      North, West Des                                                           de minimis
                                        of 11/21/94
      Moines, IA 50266                                                          items
                                        Lease Agreement (as
      SANTA MARIA
                                        amended) by and
      INVESTMENTS,                                          1344 White Court,
                                        among SANTA
   27 LLC                    YRC Inc.                       Santa Maria, CA N/A                        8/31/2023
                                        MARIA
      1344 White Court,                                     93458
                                        INVESTMENTS, LLC
      Santa Maria, CA
                                        dated as of 7/25/03
      SCHOPP
                                        Lease Agreement by
      PROPERTIES2360                                           2921 Industrial
                                        and among SCHOPP
   28 W Melgaard Road, YRC Inc.                                Ave, Aberdeen,         N/A              8/31/2023
                                        PROPERTIES dated
      Aberdeen, SD                                             SD 57401
                                        as of 4/18/23
      57401
      SHURLING
                                        Lease Agreement by
      PROPERTY                                                 4530 Ogeechee
                                        and among
      4530 Ogeechee                                            Road, Lot B,
   29                        YRC Inc.   SHURLING                                      N/A              8/31/2023
      Road, Lot B,                                             Savannah, GA
                                        PROPERTY dated as
      Savannah, GA                                             31405
                                        of 4/19/23
      31405
      SILVER CREEK,                     Lease Agreement by
                         USF                                1800 Progress
      LLC                               and among SILVER
   30                    Holland                            Way, Clarksville,         N/A              8/31/2023
      1800 Progress Way,                CREEK, LLC dated as
                         LLC                                IN 47129
      Clarksville, IN                   of 3/3/23



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                                                                                                     Rejection
        Non-Debtor                                                                   Abandoned
  No.                        Debtor     Description of Lease    Property Address                     Effective
        Counterparty                                                                 Property
                                                                                                     Date
      SOUTHERN                          Lease Agreement by
      WAREHOUSING                       and among               721 Gembler
      & DISTRIBUTION                    SOUTHERN                Road, San
   31                   YRC Inc.                                                     N/A              8/31/2023
      3232 North PanAm                  WAREHOUSING &           Antonio, TX
      Expressway, San                   DISTRIBUTION            78219
      Antonio, TX 78219                 dated as of 11/1/17
                                        Lease Agreement by
      SPALDING AND                                              Corner of Favil
                         USF            and among
      SON, INC.                                                 and Spalding
   32                    Reddaway       SPALDING AND                                 N/A              8/31/2023
      PO Box 430, Grants                                        Streets, Grants
                         Inc.           SON, INC. dated as of
      Pass, OR 97858                                            Pass, OR 97528
                                        2/5/13
      TIMBERLINE
                                        Lease Agreement by
      DISTRIBUTORS
                                        and among
      LLC / THE BLACK
                         USF            TIMBERLINE         308 Seale Avenue
      SHEEP
   33                    Reddaway       DISTRIBUTORS LLC N, Coeur d'Alene, N/A                        8/31/2023
      3585 North
                         Inc.           / THE BLACK        WA 83815
      Cederblom Street,
                                        SHEEP dated as of
      Coeur d' Alene, ID
                                        10/4/18
      83815
      TRAFTON
      WAREHOUSE
                                        Lease Agreement by  8848 Kimmie
      LLC
                                        and among TRAFTON Street SW,
   34 8912-B Kimmie          YRC Inc.                                                N/A              8/31/2023
                                        WAREHOUSE LLC       Tumwater, WA
      Street SW,
                                        dated as of 1/20/20 98512
      Tumwater WA
      98512
                                        Lease Agreement by
      VELOCITY
                                        and among
      PARTNERS LLC                                              250 Homer Street,
   35                    YRC Inc.       VELOCITY                                  N/A                 8/31/2023
      PO Box 987, Olean,                                        Olean, NY 14760
                                        PARTNERS LLC
      NY 14760
                                        dated as of 4/12/05
      VILLA VISTA
                                        Lease Agreement by
      WEST, LLC                                                 862 Landstreet
                                        and among VILLA
   36 605 S Willow      YRC Inc.                                Road, Orlando, FL N/A                 8/31/2023
                                        VISTA WEST, LLC
      Avenue, Tampa, FL                                         32824
                                        dated as of 2/3/23
      33606

                                                                                     Furniture,
      West Emerson                                              West Emerson
                                        Lease Agreement by                           fixtures, IT
      Brokers Mall Ltd.      YRC                                Brokers Mall
                                        and among West                               equipment,
      809 – 167 Lombard      Freight                            101-389 Goshen
   37                                   Emerson Brokers Mall                         other            8/31/2023
      Avenue                 Canada                             Street, Emerson,
                                        Ltd. dated as of                             miscellaneous
      Winnipeg, MB R3B       Company                            R0A 0L0,
                                        12/1/99                                      de minimis
      3H8, CANADA                                               CANADA
                                                                                     items




                                                      5
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